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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                         Tallahassee Division


   JANE DOE et al.,

               Plaintiffs,              Civil No. 4:23-cv-00114-RH-MAF

        v.

   JOSEPH A. LADAPO et al.,

              Defendants.




        REBUTTAL EXPERT REPORT OF ARON JANSSEN, M.D.
                  ON BEHALF OF PLAINTIFFS




                              September 5, 2023




                                Prepared by
                             Aron Janssen, M.D.




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I.    INTRODUCTION
      1.     I am a board-certified child and adolescent psychiatrist specializing in
the treatment of gender dysphoria in children and adolescents. I have been retained
by counsel for Plaintiffs in the above-captioned lawsuit to provide an expert opinion
on the standards of care for treating individuals diagnosed with gender dysphoria. I
submit this report in rebuttal to the expert report submitted on behalf of the
Defendants in this case by Dr. Sven Román.

      A.     Qualifications
      2.     My    professional background, experiences, publications, and
presentations are detailed in my curriculum vitae and in my earlier expert reports
submitted in this case and the companion case of Dekker v. Weida. I incorporate all
of those materials into this rebuttal report by reference.

      B.     Compensation
      3.     I am being compensated at an hourly rate of $450/hour plus expenses
for my time spent in connection with this case. My compensation does not depend
on the outcome of this litigation, the opinions I express, or the testimony I may
provide.

      C.     Prior Testimony
      4.     In the previous four years, I have provided expert testimony by
deposition or at trial in Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.),
B.P.J. v. West Virginia State Board of Education et al., No. 2:21-cv-00316
(S.D.W.V.), L.E. v. Lee et al, No. 3.21-cv-00835 (M.D. Tenn), and Loe v. Texas, No.
D-1-GN-23-003616 (District Court of Texas, Travis County).




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      D.     Bases for Opinions
      5.     In preparing this rebuttal report, I have relied on my training and years
of research and clinical experience as detailed in my CV and my previous expert
reports in this action and Dekker, the materials cited in text or listed in the
bibliographies attached to my previous reports in this action and Dekker, and any
additional materials cited in this rebuttal report. The sources cited in each of these
are the same types of materials that experts in my field of study regularly rely upon
when forming opinions on the subject, which include authoritative, scientific peer-
reviewed publications. I reserve the right to revise and supplement the opinions
expressed in this declaration or the bases for them if any new information becomes
available in the future, including as a result of new scientific research or publications
or in response to statements and issues that may arise in my area of expertise. I may
also further supplement these opinions in response to information produced by
Defendants in discovery and in response to additional information from Defendants’
designated experts.

II.   REBUTTAL EXPERT OPINIONS
      A.     Dr. Román Does Not Appear to Have the Necessary Training or
             Clinical Experience to Opine on the Standard of Care for Gender
             Dysphoria in Adolescents
      6.     Much of Dr. Román’s report consists of quoting from various news
articles and policy documents and offering his description of the history of certain
events and policy developments relating to the treatment of gender dysphoria in
adolescents taking place in Sweden and other European countries. To the extent Dr.
Román’s report includes his opinions concerning the standards for diagnosis and
treatment of gender dysphoria in adolescents, however, he appears to lack sufficient
training or clinical experience to offer an expert opinion on those subjects.
Additionally, his report relies on media accounts, websites, and similar sources that


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are not peer-reviewed research studies or other materials of the type that an expert
in the field would rely upon in forming opinions on these subjects.
      7.       Based on his report and curriculum vitae, Dr. Román does not appear
to have sufficient training or experience to offer expert opinions regarding the
standard of care for treatment of gender dysphoria in children and adolescents. Dr.
Román states that he has “met with” approximately 35 children who have been
diagnosed with gender dysphoria. He does not describe the ages of these children or
in what capacity he met with them. He also states that he has not referred patients
for medical treatment for gender dysphoria, which suggests that he has never
monitored or supervised minor patients during their treatment with medication for
gender dysphoria. In my view, this reflects insufficient clinical experience to offer
an opinion concerning the diagnosis and medical treatment of gender dysphoria in
adolescents.
      8.       Much of Dr. Román’s experience with treatment of gender dysphoria
in adolescents appears to relate to his involvement with the Gender Identity
Challenge (GENID) association, which he describes as a group of parents who were
“concern[ed]” or “distressed” that their minor or young adult children had received
medical treatment for gender dysphoria. (Expert Decl. of Dr. Sven Román, dated
Aug. 16, 2023 (“Report”), ¶¶ 9, 13.) In my view, involvement with a group of this
type, without meaningful research or clinical experience treating transgender
adolescents, is not a sufficient basis for offering expert opinions on medical
treatment of gender dysphoria.
      9.       Additionally, the sources cited in Dr. Román’s report include many that
are not peer-reviewed scientific research articles, but instead are popular news
publications, television programs, and books written for a general audience rather
than medical professionals. Some of the cited materials are opinion pieces (a term
that Dr. Román himself uses) that apparently appeared in general interest

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publications and were intended to influence policymakers or the public to support
restrictions on medical treatment for transgender adolescents. While not
commenting on the quality of these publications as news sources, they are not
references from which psychiatrists should make assertions about their clinical
practice. These sources are not scientific research, and they are not materials on
which an expert in the field would rely in forming an opinion on the medical
treatment of gender dysphoria in adolescents.

      B.     There Is No Scientific Evidence to Support Dr. Román’s Speculation
             that an Increase in Gender Dysphoria Diagnoses in Adolescents Is
             Attributable to “Social Contagion”
      10.    Like many of Defendants’ other experts, Dr. Román advances a theory
that an increasing number of people who are assigned female at birth are suddenly
identifying as males in mid-to- late adolescence as a result of peer pressure and social
contagion. For this opinion he relies primarily on media accounts and publications
by opponents of medical treatment for transgender adolescents. None of Dr.
Román’s speculation is supported by actual medical evidence.
      11.    The theory that some adolescents experience “Rapid Onset Gender
Dysphoria” as a result of social influences is based almost exclusively on one highly
controversial study (Littman, 2018). This study was based on an anonymous survey,
allegedly of parents, about the etiology of their child’s gender dysphoria.
Participants were recruited from websites promoting this social contagion theory,
and the children were not surveyed or assessed by a clinician. Those serious
methodological flaws render the study meaningless. The only conclusion that can be
drawn from that study is that a self-selected sample of anonymous people recruited
through websites that predisposed participants to believe transgender identity can be
influenced by social factors do, in fact, believe those social factors influence children
to identify as transgender.


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        12.       The opinions of Dr. Román and many of Defendants’ other experts
reflect the same speculation that more people are identifying as transgender because
of social influences. Whether it is attributed to social media, peer pressure, or, in Dr.
Román’s view, the introduction of the iPhone in 2007 (Report, ¶ 14), there is no
medical research to suggest that any of these factors have led to an increase in youth
identifying as transgender.
        13.      It is a normal developmental process for adolescents to seek out peers
with shared experiences. This is not unique to transgender and gender-diverse young
people. All types of minoritized youth tend to seek out affinity groups with those
that share their experiences. In my experience, transgender youth also seek out those
social connections. It is not the social connections that leads to the identity, but it is
the identity that leads to seeking out these social connections.

        C.       The Existence of Co-Occurring Mental Health Diagnoses Does Not
                 Provide a Medical Justification for Withholding Treatment for
                 Gender Dysphoria
        14.      Dr. Román states that he does not refer adolescent patients for medical
treatment for gender dysphoria because in his experience, all such patients “have
other psychiatric conditions in addition to their professed gender dysphoria.”
(Report, ¶ 2.) Whatever Dr. Román’s experience may be, the available research
shows that many transgender adolescents with gender dysphoria do not have other
co-occurring mental health diagnoses. In one study, for example, 67.6% of patients
had no concurrent psychiatric disorder. 1
        15.      Dr. Román also states that “parents report that children often relinquish
their gender dysphoria when receiving psychotherapy or other interventions to



1
 de Vries, A. L., Doreleijers, T. A., Steensma, T. D., & Cohen‐Kettenis, P. T., Psychiatric Comorbidity in Gender
Dysphoric Adolescents, 52 J. of Child Psychol. and Psychiatry 1195, 1195-1202. (2011).


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address psychiatric comorbidities.”2 There is no medical evidence to support the
speculation that an adolescent’s gender dysphoria will spontaneously disappear if
other co-occurring conditions are treated.
          16.   Research and clinical experience repeatedly reaffirm that gender
transition significantly improves the mental and physical health of transgender
young people and is the only treatment that has been demonstrably effective for
gender dysphoria.
          17.   I have extensive clinical and research experience working with
transgender youth who have co-occurring mental health diagnoses. The WPATH
Standards of Care specifically recommend that providers who assess adolescents for
gender-affirming care should have experience and training to distinguish between
gender dysphoria and other mental health conditions or developmental anxieties. But
the existence of a co-occurring mental health diagnosis is not—by itself—a reason
to withhold care for gender dysphoria. It is important that co-occurring conditions
are treated. And if co-occurring conditions impair the individual’s capacity to
understand the interventions in question, we have to treat those conditions before
any medical care for gender dysphoria would be initiated. But there is no evidence
that treating co-occurring mental health conditions resolves gender dysphoria. In the
same way that we would not expect that treating anxiety is going to get rid of ADHD,
treating anxiety, for example, is not going to get rid of gender dysphoria.
          18.   I hold each of the opinions expressed in this report with a reasonable
degree of scientific certainty, based on the materials I have reviewed and on my
education, experience, and knowledge. I reserve the right to supplement, amend, or
modify my opinions upon review of further information, including, but not limited
to, testimony, documents, and reports I receive after the date of this report.

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    Id.


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      I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.
      Executed this 5th day of September 2023.




                                                  Aron Janssen, M.D.




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